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                                IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

             UNITED STATES OF AMERICA

                       v.                                     CRIMINAL CASE NO.
                                                              1,:13-CR-00186-SCI
             DEVANTE DAVIS,

                       Defendant.


                                                   ORDER

                       This matter appears before the Court for consideration of the magistrate

             judge's November 1.,20'1.6, Report and Recommendation ("R&R") (Doc. No.

             12101),   in which The Honorable Russell G. Vineyard, United States Magistrate

             Judge, reconunended that Defendant Davis' pending motion           to dismiss   the

             superseding indichnent be denied.

                       The Court incorporates by reference the facts and legal standards stated

             in the R&R.

                       As stated in the R&R (Doc. No. [210], p.1), Defendant DeVante Davis

             ("Davis") is charged in a superseding indictment, along with co-defendants

             DeJuan Simmons ("Simmons"), Carlin Tibbs ("Tibbs"), and DeVante Barkley

             ("Barkley"), with one count of Hobbs Act conspiracy to commit robberies, two

             counts of Hobbs Act robbery of two McDonald's restaurants, both of which




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              occurred on Decemb er 27 , 2012, and two counts of knowingly using            a   firearm in

              furtherance of these robberies, in violation of 18 U.S.C. 552,924(c)(t)(A)(ii)-(iii),

              and 195L(a). 9ec Doc. No. [40]. Davis has filed a motion to dismiss the

              superseding indicfinent, alleging a violation of his Sixth Amendment right to a

              speedy trial, (Doc. No. [163]), which the Government opposes/ (Doc. No. [171]).

                        As stated above, the magistrate reconunended that Defendant Davis'

              pending motion to dismiss the superseding indictment be denied.

                        On November 21,,201,6, Defendant filed objections to the R&R. Doc. No.

              12191.     In his objections, the Defendant argues that "[t]he magistrate court

              incorrectly found that the govefflment took reasonable and diligent steps to

             locate Mr. Davis and incorrectly found that the second Barker factorldoes not

             weigh heavily against the Govenment." Doc. No.              12191,   p. 15.

                        \Atrhen   such objections are filed, the Court must "make a de novo

             determination of those portions of the report or specified proposed findings or

             recommendations to which objection is made." 28 U.S.C. S 636(bX1). After



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                     See Barker v. Wingo. 407 U.S. 5'1.4,531. (1972) (setting forth four factors for deciding
             whether a defendant's constitutional right to a speedy trial has been violated as "the reason
             the government assigns to justify the delay."); and Doggett v. United States. 505 U.S. 647 , 651.
             (7992) (setting forth the second Barker factor as "whether the goverrunent or the criminal
             defendant is more to blame for that delay").




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             conducting this review, the Court "may accept, reject, or modify in whole or in

             part, the findings or recorunendations made by the magistrate judge." 28 U.S.C.

             S   636(b)(1). Additionally, the Court may "receive further evidence or recommit

             the matter to the magistrate judge with instructions." Id..2

                     After   de noao   review, the Court accepts the magistrate's reconunendation

             and overrules Defendant's objections.

                                                  CONCLUSION

                     The Court hereby ADOPTS the magistrate's R&R (Doc. No. [210]) as the

             Order of the Court. Defendant's objections to the R&R (Doc. No. [219]) are

             hereby OVERRULED.

                     Defendands Motion to Dismiss Based on Violation of Sixth Amendment

             Right to Speedy Trial (Doc. No. [163]) is hereby DENIED.

                             IT IS SO ORDERED, this        (a   ll   day of


                                                  HONORABLE
                                                  UNITED STATES DISTRICT JUDGE




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                     The Court has also read the transcript of the magistrate's evidentiary hearing on the
             motion to dismiss. Cf. United States v. Elsoffer. 6MF.2d357,358 (sth Cir. 1981) (per curiam)
             (holding that the district judge must also "read the transcript of the hearing before a
             magistrate on a motion to suppress, before adopting the magistrate's recofiunendation.").




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